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                                                                                    Filed: 1/26/2022 3:34 PM
                                                                                    Lynne Finley
                                                                                    District Clerk
                                                                                    Collin County, Texas
                                                                                    By Alexis Scherff Deputy
                                                                                    Envelope ID: 61180402

                                      Cause No. 4~1-0oo4~-ao22

SOON KIM, Individually and as                                                       In the District Court
Representative of the Estate of
YOON KIM, YUN MI KIM, and YUN
HEE KIM                                                                            Collin County, Texas

        Plaintiffs,
                                                                                   47ist Judicial District
v.


24 HOUR FITNESS USA, LLC f/k/a 24
HOUR FITNESS USA, INC. AND 24
HOUR FITNESS WORLDWIDE, INC.,

        Defendants.

     24 Hour Fitness USA, LLC fjk/a 24 Hour Fitness USA, Inc. and 24 Hour
                  Fitness Worldwide, Inc.'s Original Answer


TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, 24 Hour Fitness USA, LLC f/k/a 24 Hour Fitness USA, Inc. and 24 Hour•

Fitness Worldwide, Inc. (hereinafter referred to as "Defendant"), in the above-entitled

and numbered cause of action and files this its Original Answer to Plaintiffs' Original

Petition, as follows:

                                          I. General Denial

        As authorized under the Texas Rules of Civil Procedure, Defendant asserts a

general denial as to all claims asserted against it and demands strict proof of the same.

                                         II. Affirmative Defenses

        Without waiving or limiting the general denial above, or any of the defenses below,

Defendant further pleads each of the following defenses (and in the alternative whg ""~'~'r'c~
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                                                                                   ,,, ~, .:...... ............~G"~,
applicable):                                                                    :'~~~~~~~                         ~~~~.'A~;;
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        i.     Defendant pleads the applicability of Chapter 3g of the Texas Civil Practice

and Remedies Code and all rights, privileges, and remedies afforded or available to it

pursuant to same as an affirmative defense, including but not limited to sections 33.001,

33.003, 33.012 and 33.oi3 of the Texas Civil Practice and Remedies Code.

        z.     Defendant asserts that no act or omission on it's part was a proximate cause,

cause in fact, or producing cause of the accident made the basis of suit and/or Plaintiffs'

alleged injuries or damages.

       3.      Defendant would show that the damages claimed by Plaintiffs, if found,

resulted from a cause new and independent from any action or omission on the part of

this Defendant and that was not foreseeable by this Defendant and which destroys any

alleged causal connection to any alleged act or omission on the part of this Defendant.

       4.      Further, Defendant pleads that any injuries, damages, or liability

complained of by Plaintiffs are the result, in whole or in part, of intervening new and

independent causes, and are not the result of any act or omission on the part of Defendant.

       5.      In the alternative, Plaintiffs' claims must be barred or limited, in whole or

part, to the extent he is found contributorily or comparatively negligent.

       6.      Further, in the alternative, Plaintiffs have waived the right to sue for the

damages Plaintiffs seek and/or released Defendants from liability.

                                III. Limitations on Damages

       ~.      Defendant pleads that Plaintiffs may only recover medical or healthcare

expenses that were actually paid or that were incurred by or on Plaintiffs' behalf.

       8.      Defendant asserts the limitations on the recovery of damages for loss of

earnings loss of earning capacity, and/or loss of contributions of a pecuniary value, to~~~,laE~~~~~~~~,,,,,~~
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 net loss after reduction for income tax payments or unpaid tax liability as set forth in

 Section 18.091 of the Texas Civil Practice and Remedies Code.

        g.       Defendant pleads that any award of interest that is in excess of the

applicable market rate of interest during the relevant time period would be arUitrary,

violate public policy, and violate the due process and equal protection guarantees of the

Texas and United States Constitutions.

                           IV. Punitive Damages Limitations

        10.      In the event that punitive and/or exemplary damages are sought at any

time, then Defendant further asserts the provisions of Sections 41.00, 41.008, 41.010,

4r.oii and 4i.oi2 of the Texas Civil Practice &Remedies Code and the punitive damages

limitations contained therein as an affirmative defense.

        1i.      Defendant reserves the right to amend this Answer, following oppoz~tunity

to investigate these claims as is its rights under the Texas Rules of Civil Procedure and laws

of this State.

                                      V. Conclusion

 For these reasons, Defendant respectfully seeks judgment in its favor, an award of court

 costs, and all other relief to which it maybe entitled.



                                [Signature on the next page]




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                                         Respectfully submitted,


                                         BROWN SIMS, P.C.


                                         By: /s/Nelson Skyler
                                            Nelson Skyler
                                            Texas Bar No. 0084982
                                            nskyler@brownsims.com
                                            Bridget R. McLaurin
                                            Texas Bar No. 24002842
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                                            11~~ West Loop South, Tenth Floor
                                            Houston, Texas ~~02~
                                            Telephone: (~i3) 629-i58o
                                            Facsimile: (~13) 62g-5o2~

                                        ATTORNEYS FOR DEFENDANT



                                Certificate of Service

       I certify that I have served a true and correct copy of this instrument on all
attorneys of record, and/or pro-se litigants on January 26, 2022 in accordance with the
Texas Rules of Civil Procedure.


Via e-mail:
TURLEY LAW FIRM
T Nguyen
State Bar No. 24o5ii16
644o North Central Expressway
1000Turley Law Center
Dallas, Texas 75206
241-69i-4o25
Email: to@wturley.com


                                        /s/ Nelson Skvler
                                        Nelson Skyler

                                           G~
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
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on the date and to the persons listed below. The rules governing
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certificate of service that complies with all applicable rules.
Judith Zarember on behalf of Nelson Skyler
Bar No. 784982
jzarember@brownsims.com
Envelope ID: 61180402
Status as of 1/27/2022 10:25 AM CST

Associated Case Party: Soon Kim

Name            BarNumber Email                                  TimestampSubmitted Status
 Janey Kirby               janeyk@wturley.com 1/26/2022 3:34:44 PM                                             SENT


Case Contacts

Name           BarNumber Email                       TimestampSubmitted Status
T Nguyen                 to@wturley.com 1/26/2022 3:34:44 PM                                       SENT


Associated Case Party: 24 Hour Fitness USA, LLC

Name                 BarNumber Email                                                        TimestampSubmitted Status
Nelson D.Skyler                      nskyler@brownsims.com                                  1/26/2022 3:34:44 PM           SENT
Bridget R.McLaurin                   bmclaurin@brownsims.com                                1/26/2022 3:34:44 PM           SENT
Jamie M.Beller                      jbeller@brownsims.com                                   1/26/2022 3:34:44 PM           SENT
Judith Zarember                     jzarember@brownsims.com                                 1/26/2022 3:34:44 PM           SENT




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